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  ANDERSON EXHIBIT 8
                               TO

      OPPOSITION TO EXCLUDE TESTIMONY
       OF EXPERT MARK G. DUGGAN PH.D.


                      ===========

      Hughes Deposition Transcript Excerpt
                         Exhibit “1"
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                UNITED STATES DISTRICT COURT

                 DISTRICT OF MASSACHUSETTS



     IN RE:   PHARMACEUTICAL

     INDUSTRY AVERAGE WHOLESALE       MDL No. 1456

     PRICE LITIGATION

                                      Master File

                                      No. 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:

                                      Subcategory

                                      No. 06-CV-11337-PBS

    United States of America,

     ex reI. Ven-A-Care of the

     Florida Keys, Inc., v.

    Abbott Laboratories, Inc.,

     CIVIL ACTION NO. 06-11337-PBS)      VOLUME II



               Videotaped Deposition of JAMES W.

    HUGHES, Ph.D., at 77 West Wacker Drive, 35th

     Floor, Chicago, Illinois, commencing at the hour

     of 9:09 a.m. on Wednesday, May 6, 2009.




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 1   sufficient, you would say well, they're not        1             THE WITNESS: Because AWPs for each NDC
 2   sufficient because?                                2      come from one of the compendia. That's the source
 3          MR. BERLIN: Objection, form.                3      of shall we say the truth of what AWP is at any
 4          THE WITNESS: He is saying that $10.16       4      particular time in any particular quarter in any
 5   is an Abbott NDC and only an Abbott NDC. Right     5      particular state. Although of course compendia
 6   now his assurances are zero. All he is saying is   6      are national, correct.
 7   that Abbott has an NDC that's $10.16.              7             So if he says I have gone to the source
 8          What I'm arguing that he needs to do is     8      of truth for NDCs, excuse me, I've gone to the
 9   to provide a basis for that conclusion. And one    9      source of truth for AWPs, I've gone to where the
10   way to do that would be to say I have gone to     10      Medicare carriers go to get AWPs, I've gone to the
11   where NDC AWPs reside, First Databank or the Red 11       compendia, and I have checked that compendia and
12   Book or whichever one is appropriate for the      12      at that time here's a list of the NDCs that have
13   system that he's using, I have examined this for  13      $10.16. Or the only one that has $10.16 is
14   the appropriate quarter and the appropriate time, 14      Abbott. Therefore, I am confident that when I see
15   and it is my opinion that only Abbott, or excuse  15      $10.16, that it is indeed an Abbott NDC, yes, an
16   me, here is all of the NDCs that have a price of  16      Abbott AWP I mean to say.
17   $10.16 at this time.                              17             The standard that you keep asking me
18   BY MR. LAVINE:                                    18      about is that he goes to the source of the data,
19       Q. And on what objective basis are we going   19      the compendia, and verifies his heretofore
20   to be able to say that -­                         20      assumption that $10.16 can only be an Abbott NDC.
21          MR. BERLIN: Were you done with your        21      That's the standard.
22   answer?                                           22      BY MR. LAVINE:
                                             Page 343                                                   Page 345

 1         THE WITNESS: No, not even close.               1        Q. And there's no general rule that you
 2         MR. BERLIN: Can you please let the             2    could describe that would tell us when he's
 3   witness finish his answer?                           3    reached that point.
 4          MR. LAVINE: Well, much of it's                4        A. Yes-­
 5   nonresponsive. And if we want to chance to finish    5           MR. BERLIN: Objection, form.
 6   this deposition today, we're losing it quickly.      6           Go ahead.
 7          MR. BERLIN: Okay. Well, go ahead and          7           THE WIThTESS: Yes. When you're doing
 8   let the record reflect the witness is not complete   8    data analysis, you want your data to be as
 9   with his answer.                                      9   accurate as possible. That's the standard.
10   BY MR. LAVINE:                                       10   BY MR. LAVINE:
11       Q. What is the standard that you would           11       Q. SO Professor Duggan has failed to state
12   apply to determine when Professor Duggan has         12   his assumptions, he's failed to support his
13   demonstrated a sufficient basis for his              13   assumptions, and he's failed to demonstrate that
14   assumptions?                                         14   his numbers were as accurate as possible?
15       A. When he offers evidence that he has           15       A. He's failed to state his assumption,
16   checked the accuracy of his assumption, that         16   he's failed to state his basis for his assumption,
17   $10.16 is only an Abbott NDC.                        17   and he's failed to take feasible steps, reasonable
18       Q. And what is the standard to let us            18   steps, to verify the accuracy of his assumption.
19   decide when he has offered sufficient evidence to    19       Q. Is there any other standard that he's
20   the effect that he's checked the accuracy of his     20   failed to meet in that regard?
21   numbers?                                             21          MR. BERLIN: Objection, form.
22          MR. BERLIN: Obiection, form.                  22   BY MR. LAVINE:

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 1   and not a fraudulent price.                           1 take into account.
 2          For example, my criticism about his            2         The states and the providers arrive at
 3   treatment of MAC prices where MAC prices are          3  MACs    as their best estimate of the minimum amount
 4   negotiated between providers and state Medicaid       4 that providers can accept and still be willing to
 5   agencies in my opinion represent the state's best,    5 participate in the Medicaid program.
 6   the state's and the provider's best estimate, best    6         So it addresses the, these negotiated
 7   attempt at finding a mutually agreeable price.        7 MAC prices address these issues of cost
 8          So reimbursing at such a MAC price he          8 containment and access to the best of the states'
 9   considers as being fraudulent. And I object to        9 abilities.
10   that and say that a price that was arrived at        10     Q. Would it be fair to say that that's
11   through a considered state agency policy should      11 another example of a violation of the standard of
12   not in a blanket sense simply be considered a        12 needing to base your methodology on a realistic
13   fraudulent price.                                    13 but-for world?
14          But he doesn't take any of the access         14     A. Yes. I think that would be a fair way
15   issues, he doesn't take any of the viability         15 to characterize it, yes.
16   issues, he doesn't take any of the state policy      16     Q. Does that also -- I'm sorry. Let me
17   issues that are raised throughout the deposition     1 7 start over.
18   testimony that he did not read, takes none of that   18         Are there any other standards that you
19   into account and simply performs this mechanical     19 would say Professor Duggan has failed to meet in
20   here's the reimbursement that was paid, here's the   20 connection with his, the criticism you say that
21   but-for reimbursement based on my but-for AWP,       21 his calculations were mechanical?
22   here's the difference absolutely everything else     22     A. Yes. I think sitting here today, to the
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 1   stays the same.                                    1     best of my recollection, we've covered them all.
 2       Q. But based on the methodology established    2        Q. Now, with respect to the selection of
 3   by Professor Duggan, you're not of the opinion     3     the arrays that were used for the basis of an
 4   that he applied his methodology incorrectly;       4     extrapolation regarding, we talked about some of
 5   right?                                             5     the other ones earlier that haven't shown the
 6       A. He applied an incorrect methodology         6     correct NDCs were in the arrays, haven't shown
 7   correctly as he believes would I guess be the way  7     that Abbott's price is the only one who would have
 8   to characterize my opinion.                        8     changed, et cetera. But you also talked about how
 9       Q. Right.                                      9     there were too few arrays and they were not
10          But under the methodology as he set it     10     randomly selected.
11   up, if the price based upon a hundred twenty-five 11            So what is the economic principle that
12   percent of the average was lower than the MAC, it 12     you say Professor Duggan failed to meet in his
13   was appropriate to calculate it on the basis of   13     selection or reliance upon those arrays?
14   that lower hundred twenty-five percent of the     14        A. In his reliance upon those arrays, as I
15   average price rather than the MAC?                15     believe I say in my report, he's using what
16      A. Well, yes. J mean he did what he said       16     economists refer to as a sample of convenience,
17   he did.                                           17     using the data that are there as being
18          But I'm objecting to the treatment of a    18     representative of the population without any
19   MAC price as being fraudulent as opposed to being 19     investigation or any assurance that such sample is
20   a price negotiated between providers and the      20     indeed representative of the, in this case,
21   states that takes into account all of these other 21     population of arrays.
22   things that I'm objecting that Dr. Duggan doesn't 22        Q. SO the rule that he's violated is that

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 1   if you're going to use a sample of convenience,      1    but there are formulas for figuring that out.
 2   you need to demonstrate that it's reasonable to do   2        Q. But you haven't done that analysis in
 3   so?                                                  3    this case?
 4       A. Well, if you're claiming that your            4        A. No. I have not.
 5   sample of convenience is representative, which is    5        Q. Are there any other economic theories or
 6   something that somebody might claim, you need to     6    techniques that Dr. Duggan failed to meet in
 7   provide evidence that it is indeed representative.   7    connection with his extrapolation for Medicare
 8           If you are stuck with the sample that        8    damages based on the arrays?
 9   you're stuck with, then it also seems to me it's     9        A. Well, I mean this, and let's just keep
10   incumbent upon a researcher to examine the           10   something in mind, is that in his rebuttal report
11   consequences for their analysis from the fact that   11   he talks about other studies that provide
12   their sample is not representative of the            12   extrapolations and so on and so forth.
13   population.                                          13          I have not had, I have not reviewed
14       Q. Are there any other principles or             14   those studies, but I would imagine that those
15   methods that you say Professor Duggan should have    15   studies provided some measure of statistical
16   applied in connection with his selection of the      16   accuracy for their extrapolations, as that would
17   arrays, the sample of arrays?                        17   be a standard practice.
18       A. Well, I mean as I understand it, Dr.          18          The overarching criticism is that we
19   Duggan did none of the selecting. As I understand    19   have no basis for concluding that Dr. Duggan's
20   it, Dr. Duggan was provided with a set of arrays     20   estimates are too high, too low, or just right
21   by the government.                                   21   because he's simply used the sample that was
22           So I think it mischaracterizes as I          22   provided to him, he's gone ahead and extrapolated
                                             Page 403                                                    Page 405

 1   understand what Dr. Duggan is saying because I       1    according to his methodology, he comes up with a
 2   don't believe he made any claim that he selected     2    number and we have no way of knowing whether that
 3   the arrays from -- let me put it differently.        3    number is terribly accurate, wildly inaccurate,
 4           If Dr. Duggan had twenty more arrays in      4    whether that number ifhe was provided with
 5   his possession, I assume he would have used them.    5    twenty-five different arrays and performed the
 6   I'm not saying that he did have more. I'm saying     6    same analysis would he get a number that was
 7   that it's my understanding that he used only those   7    similar to the number that he got or not.
 8   that were given to him by the government.            8           Nothing that he does do we have any
 9           So it's not a matter of Dr. Duggan           9    measure as would be standard practice in any
10   actually performing the selection but rather         10   academic economics paper, do we have any measure
11   uncritically using a sample of convenience without   11   of accuracy of his estimates of his extrapolations
12   any checks as to the representativeness of the       12   or difference calculations.
13   arrays that he had been provided.                    13      Q. Okay. You received Dr. Duggan's actual
14        Q. What standard would you apply to             14   report, supplemental report, and rebuttal report;
15   determine that the arrays that were relied upon in   15   right?
16   Dr. Duggan's analysis were too few in number?        16      A. Yes.
17        A. There are, in statistics there are           17      Q. But you weren't provided with any of the
18   formulas for figuring out, I'm trying to remember,   18   underlying materials related to those reports;
19   it's been a long time, for figuring out minimum,     19   were you?
20   something like minimum required sample size,         20      A. I don't know, no.
21   something like that.                                 21      Q. SO your opinion isn't based upon any
22           I'm sure I don't have the term right,        22   review of any of the materials that were used to

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 1   and to adjust the administration fees accordingly.  1   his tremendously unrealistic but-for world, Dr.
 2         That's part of the law. That's what           2   Duggan has come up with a set of difference
 3   Congress after it got done looking at all of the    3   calculations that are unreliable and inaccurate.
 4   problems with the previous Medicaid system, that's 4           They could be higher, they could be
 5   the conclusion that the Congress came to. And       5   lower. That's not what I'm here about. What I'm
 6   came to after weighing all of the issues of cost    6   here about is that the ones he's come up with we
 7   containment as well as access.                      7   have every reason to believe are not accurate.
 8         We've been sitting here arguing, you've       8      Q. But when I asked you a few minutes ago
 9   been arguing with me that I haven't taken into      9   about can you say sitting here today with a
10   account everything that has changed.               10   reasonable degree of certainty that it's more or
11         Well, then we're in great agreement on       11   less likely, more likely than not that Professor
12   Dr. Duggan's report because that's my objection to 12   Duggan's damage figure is wrong, you said that you
13   Dr. Duggan's report. He doesn't take into account 13    could reach that conclusion.
14   everything that would have changed.                14          So my follow-up question is since you
15      Q. Do you agree that some of the changes        15   didn't actually do those numbers, is that just
16   that would have been implemented in a but-for      16   based upon your calculation in your head?
17   world that complies with your standard would have 17       A. No. I've just been through this.
18   increased the dollar value ofthe damages in this   18          If administration fees go up, as they
19   case?                                              19   did under the MMA, as they did under the DRA, as
20      A. No. I don't reach that conclusion.           20   they did when the Congress of the United States
21      Q. Every single change that would have been 21       looks at these systems, weighs issues of access,
22   made in your version of the but-for world would    22   weighs issues of cost containment, and comes to a
                                            Page 423                                                  Page 425

 1   have resulted in a lower damage figure?             1   conclusion, they've come to a conclusion that when
 2      A. Well, if, for example, a reduction of         2   you lower your ingredient costs down to a level
 3   ingredient cost by ninety percent in a state would  3   resembling average selling price, that this cannot
 4   have led to an "X" percent increase in dispensing   4   be done without an increase in dispensing or
 5   fees in order to keep the Medicaid system viable,   5   administration fees.
 6   then yes, I think the difference would have been    6           So taking that one by itself into
 7   smaller, not larger.                                7   account, which is again one of my principal
 8      Q. Are there any factors at all that would       8   criticisms of Dr. Duggan's report, I do conclude
 9   have been part of your but-for world that would     9   that I think his damage calculations would in fact
10   have caused the dollar value of damages to move 10      be smaller if, for example, his but-for world for
11   upward?                                            11   the MMA was, suppose the MMA had been implemented
12      A. Sitting here today, I don't know that, I     12   fifteen years sooner, suppose the DRA had been
13   can't say a hundred percent that there's not, but  13   implemented fifteen years sooner, then what would
14   the main ones, the ones that I have identified in  14   the difference have been.
15   my report, all point to having lower damages, not 15            For some transactions it would be the
16   higher damages.                                    16   reimbursement might be higher, for some
17          I know that in his rebuttal report Dr.      17   transactions the reimbursement might be lower. I
18   Duggan makes claim of some things that would be, 18     don't know.
19   some changes that would be in my but-for world     19           But since the decrease in ingredient
20   that would make damages higher, but that's fine.   2a   costs as we see in the actual world, MMA and DRA
21   That's not the issue.                              21   are more than offset by increase in administration
22          The issue for me is that in constructing    22   and dispensing fees, it is my conclusion that Dr.

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 1       Q. All right. But when he extrapolates to        1    product, that I don't know, did he just check the
 2   other carriers and assume that they would have       2    matching the, the products that are the same size
 3   used Abbott AWPs in generally the same frequency     3    and dose as the NDC he was looking at or did he
 4   as the ones that he actually had information on,     4    look at other things that may have crept into the
 5   that's where you have a criticism?                    5   array that might have had those prices since we
 6       A. What I have a criticism on is him              6   know that the arrays were constructed at times
 7   looking in the claims data and saying oh, here's a    7   with error.
 8   reimbursement of$10.16, Abbott has an AWP of          8       Q. In the Medicaid side where you criticize
 9   $10.16; therefore, this must be an Abbott product     9   his use of the nine state, as you call it, nine
10   and Abbott must be in this array.                    10   state sample to extrapolate to the remaining
11       Q. And did you look at the information that      11   states, what proportion of the total Medicaid
12   he provided through counsel to you, including his    12   claims dollars for these drugs were encompassed by
13   Red Book analyses and Red Book documentation, to     13   those nine states?
14   determine whether or not the Red Book was            14       A. I believe he says something like seventy
15   reflecting Abbott at that price and only Abbott at   15   percent for the ten states.
16   that price at that time?                             16       Q. For the ten states.
17      A. He did not mention in his report that he       17       A. Right.
18   had done any such checking. And I did not review     18       Q. Okay. So in a normal sampling scenario
19   Red Book data from him that concluded in any way     19   where you basically have a situation where you
2a   that this was an Abbott price and only an Abbott     20   take the largest participants in terms of the
21   price, that it was not possible for it to be         21   quantity of things you're trying to evaluate and
22   another price.                                       22   you get up to seventy percent, are you saying
                                             Page 603                                                    Page 605

 1     Q. Did you study the list of materials on          1    that's not a sufficient sample size to extrapolate
 2  the source log that was provided with respect to      2    the remaining thirty percent?
 3  Dr. Duggan?                                           3        A. I'm saying it's not been demonstrated
 4     A. I looked at the supporting documents            4    that it's a sufficient sample size.
 5 that I felt I needed to look at.                       5            I mean suppose you have as your
 6     Q. Did you look at the forty-five Red Book          6   population of interest a room full of individuals
 7 excerpts that he had on that log?                       7   and you want to look at their salaries? So you
 8     A. I did not.                                       8   take the seventy highest paid people and then say
 9     Q. Why not?                                         9   okay, I'm going to take the average of that and
l O A . I didn't.                                         10   extrapolate to the other people. Well, that may
11     Q. Okay. Did you look at anything else on          11   or may not work.
12 that log to see if it provided a basis for the         12           If you take seventy men and then try to
13 information since he was referring to those items?     13   extrapolate to thirty women, that may not work
14     A. Dr. Duggan claims in his report that            14   very well for you, all right. Precisely because
15 this must be an Abbott AWP.                            15   there's no effort to say that the seventy percent
16         Again, I understand from his rebuttal          16   that I'm using as the basis of my extrapolation in
1 7 report that he claims that he checked to make sure    17   fact mimics the thirty percent that I'm
18 that they were Abbott AWPs.                            18   extrapolating to.
19         Again, it's still unclear to me exactly        19           Let's take it differently. I'm from the
2 0 what he did check because there are things that       20   State of Maine, we're in the state of Illinois.
21 appear in the arrays by error, there are things        21   Illinois is one of his exemplar states. Is the
2 2 that appear wrong dosage, wrong size, wrong           22   Medicaid reimbursement system in Maine identical

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 1   have to think that the sample of nine states that   1   that.
 2   you're using is in fact representative of the       2       Q. Can you tell the court today within a
 3   other thirty-nine states that you're extrapolating  3   reasonable degree of certainty in your profession
 4   to.                                                 4   that Dr. Duggan's quantitative estimation, taking
 5          Then that would go back to the author,       5   away the dispensing fee issue for a moment, but
 6   and the author may come back and say here, here,    6   just his quantitative estimation of the Medicaid
 7   I've done this, this, that, and the other thing,    7   damages is materially in error?
 8   and here's why I believe it to be representative.   8       A. Well, as is replete in my report is yes,
 9          Then it would be up to me as a journal       9   I do believe it is materially in error.
10   referee to say oh, okay, I get it, I agree with    10       Q. When you say material, can you quantify
11   him, that's adequate, or no, I don't think that's  11   that?
12   adequate for whatever the following reasons would 12        A. I have not made any attempt to quantify
13   be.                                                13   that.
14          So I viewed my job, and nobody ever         14          But yet he has made assumptions that
15   disabused me from it, that my task here was        15   have no basis, he's made claims of
16   restricted to the same sorts of things that I do   16   representativeness that he does nothing to
17   in my regular professional life when critiquing    17   support, and so on and so forth, as I list in
18   the work of a colleague is to look at the methods  18   forty-seven pages in my report, leads me to
19   that he used, look at how he performed his         19   believe that his estimates are inaccurate and
20   analysis, looking at the assumptions underlying    20   unreliable.
21   his analysis, looking at the steps that he took,   21          In fact, in his rebuttal report where he
22   the steps that he didn't take lookimr at the       22   is attemoting to address some of these concerns
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 1   realism of what he's done, and then passing a       1   where he instead of doing an extrapolation, he
 2   judgment and writing that up and handing it in,     2   goes to the data, the claims data for the other
 3   which is in effect what I've done here.             3   thirty-eight states, he comes and says well, look,
 4       Q. Back to the seventy percent sample.          4   if I did it using the claims data it's actually
 5          Now that Dr. Duggan has done more            5   substantially higher estimate of difference than I
 6   testing and more explanation in his rebuttal        6   got from the extrapolation, which in my mind
 7   report I guess is what we call it here, did that    7   supports my contention that his original
 8   provide at least some more insight as to the        8   methodology was in fact inaccurate and unreliable
 9   appropriateness of the seventy percent sample?      9   because when he did it using the actual data he
10      A. Well, as I pointed out here over the         10   claims he got a substantially different number.
11   past couple of days, the rebuttal report did       11       Q. Yet you've done absolutely no
12   provide some more insight, but it also raised some 12   quantitative work yourself to try to determine if
13   other questions because it wasn't always clear     13   those numbers are materially wrong, trying to
14   from exactly what he, it wasn't clear from what he 14   determine how to quantify that?
15   was saying in the rebuttal report exactly what he  15          MR. BERLIN: Objection, form.
16   was doing.                                         16           THE WITNESS: Again, I've done here what
17          It just wasn't, it wasn't clear to me       17   economists do when critiquing the work of
18   that take, for example, the checking of the AWPs, 18    colleagues, is that I look at his methods, I look
19   like he says oh, I checked to make sure it was     19   at his procedures, I look at the assumptions, I
20   right. Again, what did you check, how extensively 20    look at the basis of his assumptions, I look at
21   did you check? That wasn't clear.                  21   the reasonableness of his assumptions, I look at
22          And there were other instances like         22   what he is substantiating, what he's not
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